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                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY

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  UNITED STATES OF AMERICA                     : SEALED CRIMINAL
                                               : COMPLAINT
     -v-                                       :
                                               : Mag. No. 22-10155
  GABRIEL ANTHONY                              :



      I, Special Agent John Havens, being duly sworn, state the following is true and
correct to the best of my knowledge and belief:

                              SEE ATTACHMENT A

      I further state that I am a Special Agent with the Federal Bureau of Investigation,
and that this complaint is based on the following facts:

                              SEE ATTACHMENT B

continued on the attached pages and made a part hereof.



                                               /s/ John Havens
                                               ______________________________
                                               Special Agent John Havens
                                               Federal Bureau of Investigation


Special Agent John Haven attested to this Complaint by telephone pursuant to Federal
Rule of Criminal Procedure 4.1(b)(2)(A) on April 18
                                                 __, 2022 in New Jersey.



Hon. Michael A. Hammer                         Hon. Michael A. Hammer, U.S.M.J.
                                               ___________________________
United States Magistrate Judge                 Signature of Judicial Officer
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                                  ATTACHMENT A

                        (Conspiracy to Commit Kidnapping)

       From at least on or about April 5, 2022 through on or about April 6, 2022, in the
District of New Jersey and elsewhere, the defendant

                                GABRIEL ANTHONY

knowingly and intentionally conspired and agreed with others, and committed an overt
act to effect the object of their conspiracy, to unlawfully seize, confine, inveigle, decoy,
kidnap, abduct, and carry away and hold for ransom and reward and otherwise a person,
and the person was willfully transported in interstate and foreign commerce and a
means, facility, and instrumentality of interstate or foreign commerce was used in
committing and in furtherance of the commission of the offense.

       In violation of Title 18, United States Code, Section 1201(c).




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                                  ATTACHMENT B

       I, John Havens, am a Special Agent with the Federal Bureau of Investigation. I
have knowledge of the following facts based upon both my investigation and
discussions with other law enforcement personnel and others. Because this Affidavit
is being submitted for the sole purpose of establishing probable cause to support the
issuance of a complaint, I have not included each and every fact known to the
government concerning this matter. Where statements of others are set forth herein,
these statements are related in substance and in part. Where I assert that an event took
place on a particular date, I am asserting that it took place on or about the date alleged.

     1.    On or about the evening of April 5, 2022, defendant GABRIEL
ANTHONY conspired with at least three other individuals to abduct VICTIM 1 from
VICTIM 1’s home in in Fort Lee, New Jersey (“VICTIM 1’s Residence”).

       2.     The incident was first reported by a neighbor who called the Fort Lee
Police Department and reported seeing two unknown men walking around inside
VICTIM 1’s Residence. At approximately the same time, a friend of VICTIM 1
(“WITNESS 1”) also called the Fort Lee Police Department and reported that VICTIM
1’s wife, who resides in China, texted WITNESS 1 a photo of VICTIM 1 with duct tape
over his eyes and mouth and said that individuals had contacted her, demanding a
ransom of approximately $680,000.00. WITNESS 1 reported that the individuals who
contacted VICTIM 1’s wife used a phone number ending in -5447.

       3.     Law enforcement subsequently responded to VICTIM 1’s Residence and
saw what appeared to be used duct tape on the floor with pieces of what appeared to
be latex gloves stuck to it.

       4.      Law enforcement reviewed surveillance camera footage from various
residences in the area and identified a gray minivan bearing an Oregon license plate
number (the “Suspect Vehicle”), which appeared to have been used by the kidnappers.
Specifically, the surveillance footage showed the Suspect Vehicle driving in the vicinity
of VICTIM 1’s Residence from approximately 8:14 p.m. until it parked near VICTIM’s
Residence at approximately 8:33 p.m. A law enforcement database check also revealed
that the license plate number was registered to a 2010 Toyota Rav 4, not the Suspect
Vehicle, indicating that the plates were improperly affixed to the Suspect Vehicle. In
addition, a check of law enforcement Automated License Plate Reader (“ALPR”)
databases showed that the Suspect Vehicle had crossed the George Washington Bridge
into New Jersey at approximately 8:02 p.m. that same night.


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      5.     The surveillance footage further showed that:

             a. after parking, two men walked from the Suspect Vehicle toward
                VICTIM 1’s Residence;

             b. two other individuals appeared to remain in the Suspect Vehicle;

             c. at approximately 8:53 p.m., a man walked toward the Suspect Vehicle;
                and

             d. at approximately 8:54 p.m., the Suspect Vehicle drove away from the
                area.

      6.     According to ALPR records, the Suspect Vehicle then: crossed back over
the George Washington Bridge into New York at approximately 9:00 p.m.; crossed the
Alexander Hamilton Bridge into the Bronx, New York at approximately 9:04 p.m.; and
crossed the Whitestone Bridge into Queens, New York at approximately 9:10 p.m.

       7.    Later that night, at approximately 11:38 p.m., New York City Police
Department (“NYPD”) officers responded to an address on Prince Street in Queens,
New York (the “Prince Street Address”) based on a 911 call that reported a man in the
area screaming and possibly bound. NYPD officers checked the area with negative
results.

       8.     On or about the next day, April 6, 2022, around noon, NYPD returned to
the area of the Prince Street Address, which was being guarded by a man (“CC1”)
standing out front. When NYPD officers approached CC1, they heard a man
screaming for help from inside the building. The officers entered the premises and
located VICTIM 1, who was blindfolded with his hands bound and duct tape over his
mouth and eyes. While speaking to CC1, law enforcement officers observed another
man (“CC2”) approaching the Prince Street Address. CC2 fled on foot and was
apprehended by law enforcement. CC1 told law enforcement that CC2 was his boss
and had him watch the door. CC1 was taken into custody, and made a spontaneous
voluntary statement in substance that he was charged with watching an Asian man
inside the building.

       9.     After his rescue, VICTIM 1 told law enforcement that he was abducted
from his home the previous night. He reported that masked men entered his home,
and at least one of the men was carrying a firearm.

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        10. Video surveillance footage of the Prince Street Address subsequently
obtained via search warrant in the Eastern District of New York showed, among other
things: five individuals, one of whom appearing to be bound, exiting a gray minivan
fitting the description of the Suspect Vehicle at approximately on April 5, 2022 at 9:54
p.m.

       11. As part of the investigation, law enforcement identified CC3, whose wife
had rented the Suspect Vehicle from LaGuardia Airport on or about April 4, 2022. CC3
voluntarily admitted that he was involved in VICTIM 1’s kidnapping. He stated in
substance that he and an individual he knows as “Jay” or “B” asked him on or about
April 3, 2022, to rent a car. CC3 identified a photograph of CC2 as being the individual
he knew as “Jay” or “B.”

       12. CC3 also identified CC1, whom he knew as “X,” and GABRIEL
ANTHONY, whom he knew as “Gabriel,” as other co-conspirators to the kidnapping.
CC3 was familiar with GABRIEL ANTHONY, having spent time together at the
location where CC3 worked.

       13. According to CC3, on or about the evening of April 5, 2022, he and CC2
picked up CC1 and GABRIEL ANTHONY in the Suspect Vehicle and the four drove
to Fort Lee, where CC1 and GABRIEL ANTHONY entered a house while CC2 and
CC3 remained in the car. CC1 and GABRIEL ANTHONY then returned to the car
with an individual who was duct taped and bound, and they drove him to the Prince
Street Address.

       14. Phone records also show GABRIEL ANTHONY’s frequent
communication with CC2 leading up to the kidnapping. Specifically, CC3 identified the
telephone number ending in -5447 used to communicated with VICTIM 1’s wife,
discussed above, as CC2’s phone number. CC3 also identified GABRIEL
ANTHONY’s phone number as ending in -7679. Historical cellular records for the
number ending in -7679 show that it communicated with the number ending in -5447
approximately 64 times in the week prior to the kidnapping, between March 27, 2022
and April 3, 2022.




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